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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                     TAMPA DIVISION

UNITED STATES OF AMERICA

v.                                                                   Case No.: 8:17-cr-102-T-24JSS

JESUS ALBERTO BERMUDEZ
CARABALLO
                                               /

                                               ORDER

        THIS MATTER is before the Court on Defendant’s Amended Motion for Pretrial Release

(“Motion”). (Dkt. 101). The Government opposes the Motion. (Dkt. 102.) A hearing was held

on this matter on July 10, 2017. For the reasons stated on the record at the hearing, and as stated

below, Defendant’s Motion is denied.

        Defendant stands charged in an Indictment with conspiracy to possess with intent to

distribute and possession with intent to distribute a controlled substance in violation of 21 U.S.C.

§§ 841(a)(1) and (b)(1)(A), 846, and 18 U.S.C. § 2. (Dkt. 1.) On May 10, 2017, Defendant entered

a plea of guilty to Count One of the Indictment, which charges Defendant with conspiracy to

possess with intent to distribute one kilogram or more of heroin. (Dkt. 79.) The plea was accepted

on May 10, 2017, and Defendant’s sentencing is scheduled for August 22, 2017. (Dkt. 84.)

        Under 18 U.S.C. § 3143(a)(2), “[a] judicial officer shall order that a person who has been

found guilty of an offense in a case described in subparagraph (A), (B), or (C) of subsection (f)(1)

of section 3142 and is awaiting imposition or execution of sentence be detained unless: (A) the

judicial officer finds there is a substantial likelihood that a motion for acquittal or new trial will be

granted; or an attorney for the Government has recommended that no sentence of imprisonment

be imposed on the person; and (B) the judicial officer finds by clear and convincing evidence that
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the person is not likely to flee or pose a danger to any other person or the community.” 18 U.S.C.

§ 3143(a)(2).

       At the hearing, the Government argued that Defendant is statutorily prohibited from release

under 18 U.S.C. § 3143(a)(2). Specifically, the Government argued that the first prong of Section

3143(a)(2) has not been met, as there is no reason to believe a motion for acquittal or new trial will

be granted, and Defendant has been adjudicated guilty of an offense that carries a mandatory

minimum term of ten years in prison. In response, Defendant relied on the rebuttal presumption

under 18 U.S.C. § 3142, but offered no argument concerning the applicability of Section 3143

aside from his assertion that it is not binding on the Court. Upon consideration of the Motion, the

Government’s response, and the arguments from counsel at the hearing, the Court finds that

Section 3143 mandates that Defendant be detained pending sentencing in this case. Defendant has

failed to meet the standards for release set forth in 18 U.S.C. § 3143(a)(2). Accordingly,

Defendant’s Amended Motion for Pretrial Release (Dkt. 101) is DENIED, and Defendant is

ordered DETAINED.

       DONE and ORDERED in Tampa, Florida, on July 10, 2017.




Copies furnished to:
Counsel of Record




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